  Case 1:16-cv-00895-LTB Document 44 Filed 02/15/19 USDC Colorado Page 1 of 1

Appellate Case: 17-1460    Document: 010110127715         Date Filed: 02/19/2019          Page: 1
                     Supreme Court of the United States
                            Office of the Clerk
                        Washington, DC 20543-0001
                                                                     Scott S. Harris
                                                                     Clerk of the Court
                                                                     (202) 479-3011
                                      February 15, 2019


   Clerk
   United States Court of Appeals for the Tenth
   Circuit
   Byron White Courthouse
   1823 Stout Street
   Denver, CO 80257


         Re: Jason Brooks
             v. Angel Medina, Warden, et al.
             No. 18-8005
             (Your No. 17-1460)


   Dear Clerk:

         The petition for a writ of certiorari in the above entitled case was filed on July
   26, 2018 and placed on the docket February 15, 2019 as No. 18-8005.




                                           Sincerely,

                                           Scott S. Harris, Clerk

                                           by

                                           Jacob C. Travers
                                           Case Analyst
